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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                         Filed: April 1, 2021

* * * * * * * * * * * * *  *
KAY LYNNE KLOTZ,           *                                     UNPUBLISHED
                           *
         Petitioner,       *                                     No. 17-1473V
                           *                                     Special Master Gowen
v.                         *
                           *                                     Attorneys’ Fees and Costs
SECRETARY OF HEALTH        *
AND HUMAN SERVICES,        *
                           *
         Respondent.       *
* * * * * * * * * * * * * *
Matthew T. Logue, Quinn Logue, LLC, Pittsburgh, PA, for Petitioner.
Gabrielle M. Fielding, United States Department of Justice, Washington, DC, for Respondent.

                         DECISION ON ATTORNEYS’ FEES AND COSTS1

       On October 26, 2020, Kay Lynne Klotz (“Petitioner”) filed a motion for attorneys’ fees
and costs. Motion for Attorney Fees and Costs (“Fees App.”) (ECF No. 49). For the reasons
discussed below, I GRANT Petitioner’s motion for attorneys’ fees and costs and award a total of
$40,053.48.

    I.        Procedural History

       On October 6, 2017, Petitioner filed a petition in the National Vaccine Injury
Compensation Program.2 Petitioner alleged that as a result of receiving an influenza vaccine on
October 7, 2014, she suffered Guillain-Barré syndrome. See Petition (ECF No. 1). On April 7,
2020, the parties filed a stipulation, which I adopted as my decision awarding compensation on

1
  I intend to post this Ruling on the United States Court of Federal Claims' website. This means the Ruling will be
available to anyone with access to the Internet. In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an unwarranted
invasion of privacy. If, upon review, I agree that the identified material fits within this definition, I will redact such
material from public access. Because this unpublished ruling contains a reasoned explanation for the action in this
case, I am required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services).
2
 The National Vaccine Injury Compensation Program is set forth in Part 2 of the National Childhood Vaccine Injury
Act of 1986, Pub L. No. 99-660, 100 Stat. 3755, codified as amended, 42 U.S.C. §§ 300aa-1 to -34 (2012) (“Vaccine
Act” or “the Act”). All citations in this decision to individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.
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the same day. (ECF No. 42).

        On October 26, 2020, Petitioner filed a motion for final attorneys’ fees and costs. Petitioner
requests compensation for her attorney, Mr. Matthew Logue, in the total amount of $40,053.48,
representing $38,745.00 in attorneys’ fees and $1,303.483 in costs. Fees App. at 3. Pursuant to
General Order No. 9, Petitioner warrants she has not personally incurred any costs in pursuit of
her claim. Fees App. Ex. 3. Respondent reacted to the fees motion on November 5, 2020, stating
that “Respondent is satisfied that the statutory requirements for an award of attorneys’ fees and
costs are met in this case.” Response at 2 (ECF No. 50). Petitioner did not file a reply thereafter.

          The matter is now ripe for adjudication.

    II.      Analysis

         Section 15(e) (1) of the Vaccine Act allows for the Special Master to award “reasonable
attorneys' fees, and other costs.” § 300aa–15(e)(1)(A)–(B). Petitioners are entitled to an award of
reasonable attorneys' fees and costs if they are entitled to compensation under the Vaccine Act, or,
even if they are unsuccessful, they are eligible so long as the Special Master finds that the petition
was filed in good faith and with a reasonable basis. Avera v. Sec'y of Health & Human Servs., 515
F.3d 1343, 1352 (Fed. Cir. 2008). Here, because Petitioner was awarded compensation pursuant
to a stipulation, she is entitled to a final award of reasonable attorneys’ fees and costs.

         Petitioners “bea[r] the burden of establishing the hours expended, the rates charged, and
the expenses incurred” are reasonable. Wasson v. Sec'y of Health & Human Servs., 24 Cl. Ct. 482,
484 (1993). Adequate proof of the claimed fees and costs should be presented when the motion is
filed. Id. at 484 n. 1. The special master has the discretion to reduce awards sua sponte, independent
of enumerated objections from the respondent. Sabella v. Sec'y of Health & Human Servs., 86 Fed.
Cl. 201, 208–09 (Fed. Cl. 2009); Savin v. Sec'y of Health & Human Servs., 85 Fed. Cl. 313 (Fed.
Cl. 2008), aff'd No. 99–537V, 2008 WL 2066611 (Fed. Cl. Spec. Mstr. Apr. 22, 2008).

                  a. Attorneys’ Fees

       Petitioner requests that her attorney, Mr. Matthew Logue, be compensated at an hourly rate
of $350.00 per hour for all work performed in this case, from 2015 to 2020. Mr. Logue has been
licensed to practice law since 2001, giving him approximately 14 years of experience when he
began work on this case in 2015. Upon review, the requested hourly rates are reasonable and shall
be awarded herein.

        Turning next to review of the submitted billing statement, I find that the overall hours spent
on this matter to be reasonable. The entries are reasonable and accurately describe the work being
performed and the length of time it took to perform each task. Respondent also has not identified
any particular entries as being objectionable. Therefore, Petitioner is entitled to final attorneys’
fees of $38,745.00.

3
  Petitioner’s motion and supplemental filing of costs both request $1,302.99 in costs. However, the sum of the costs
requested is $1,303.48. Because the submitted documentation supports the higher amount, the Court will accept that
number as the amount of costs in this case.

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                  b. Attorneys’ Costs

        Like attorneys’ fees, a request for reimbursement of costs must be reasonable. Perreira v.
Sec’y of Health & Human Servs., 27 Fed. Cl. 29, 34 (Fed. Cl. 1992). Petitioner requests total
attorneys’ costs in the amount of $1,303.48. This amount is comprised of acquiring medical
records, postage, and the Court’s filing fee. ECF No. 52. Petitioner has provided adequate
documentation supporting these costs and all appear reasonable in my experience. Petitioner is
therefore awarded the full amount of costs sought.

      III.     Conclusion

       In accordance with the foregoing, Petitioner’s motion for attorneys’ fees and costs is
GRANTED. I find that Petitioner is entitled to a reimbursement of attorneys’ fees and costs as
follows:

    Attorneys’ Fees Requested                                                  $38,745.00
    (Reduction of Fees)                                                             -
    Total Attorneys’ Fees Awarded                                              $38,745.00

    Attorneys’ Costs Requested                                                  $1,303.48
    (Reduction of Costs)                                                            -
    Total Attorneys’ Costs Awarded                                              $1,303.48

    Total Attorneys’ Fees and Costs                                            $40,053.48

       Accordingly, I award a lump sum in the amount of $40,053.48, representing
reimbursement for Petitioner’s attorneys’ fees and costs, in the form of a check payable to
Petitioner and her attorney, Mr. Matthew Logue.

        In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of the
court shall enter judgment in accordance herewith.4

             IT IS SO ORDERED.



                                                     /s/Thomas L. Gowen
                                                     Thomas L. Gowen
                                                     Special Master




4
 Entry of judgment can be expedited by each party’s filing of a notice renouncing the right to seek review. Vaccine
Rule 11(a).

                                                        3
